Case: 1:22-cv-04127 Document #: 1-10 Filed: 08/05/22 Page 1 of 9 PageID #:82




                       EXHIBIT J
                Case: 1:22-cv-04127 Document          ORIGINAL
                                                 #: 1-10      Filed: 08/05/22 Page 2 of 9 PageID #:83
                                    7701 Metropolis Dr | Bldg 15 Austin, TX 78744
                                               Phone: (888) 861-0650 | Fax: (512) 872-5109
                                               Have your driver call in for dispatch at (888) 861-0650 ext. 1 and reference the Arrive order
                                               2796890


Load                                          Carrier                                             Truck

Arrive Order        2796890                   Carrier                     Rocket Expediting       Equipment               Van
Cargo Value         $100,000.00                                           LLC                     Truck Number            1956
Total Miles         620 Miles                 Attn                                                Driver                  Eugene
Total FloorLoaded   67 FloorLoaded            Phone                                               Driver Phone            912-464-4195
Total Weight        15000 lbs                 Fax
Load Type           Dry
Load EQ Type        Van Only
EQ Size             53 ft
BOL #               42683


Rate Details
LineHaul                          $1,700.00
Detention                            $50.00
Driver Assist                      $300.00


Total                           $2,050.00




                                                              HOW TO GET PAID!
                                         All invoices must be emailed to invoices@arrivelogistics.com

                                  DOCUMENTS NEEDED
                                       •   Carrier invoice
                                       •   All pages of the signed Proof of Delivery (POD)
                                       •   Rate confirmation
                                       •   All approved accessorial documents and receipts previously approved
                                       by your sales rep

                                  PAYMENT TERMS
                                       •   Default payment terms are Net 30 from the date all required
                                       documents are received. You can select standard terms or our QuickPay
                                       option of Net-2 for a 2% fee, through TriumphPay.

                                  GETTING STARTED ON TriumphPay
                                        •   Visit https://secure.triumphpay.com/ to create an account with
                                        TriumphPay or if you already have a TriumphPay account, enter your
                                        login information.
                                        •   Once logged in, select Arrive Logistics as your broker and confirm the
                                        relationship through authentication.
                                        •   Select your preferred payment term, your payment type, and verify
                                        your carrier information.
                   Case: 1:22-cv-04127 Document     #: 1-10 Filed: 08/05/22 Page 3 of 9 PageID #:84
                                       7701 Metropolis Dr | Bldg 15 Austin, TX 78744
                                                Phone: (888) 861-0650 | Fax: (512) 872-5109
                                                Have your driver call in for dispatch at (888) 861-0650 ext. 1 and reference the Arrive order
                                                2796890



Pickup #1
Pickup Address             Appointment             Ref/PO#                               Commodity                     Weight
Jackson Furniture                                  BOL #              42683              Furniture                     7500 lb
1910 King Edward Ave       Earliest Date/Time                                            32 FLOOR LOADED
Cleveland, TN 37311        Mar 30, 2022
                           07:00 EDT

                           Latest Date/Time
                           Mar 30, 2022
                           17:00 EDT

                           Appt. Type
                           FCFS
                           Confirmed


Driver Instructions: FCFS APPOINTMENT.


Pickup Notes:



Pickup #2
Pickup Address             Appointment             Ref/PO#                               Commodity                     Weight
JACKSON FURNITURE                                  BOL #              42683              Furniture                     7500 lb
CATNAPPER                  Earliest Date/Time                                            35 FLOOR LOADED
180 INDUSTRIAL LANE        Mar 30, 2022
Cleveland, TN 37311        07:00 EDT

                           Latest Date/Time
                           Mar 30, 2022
                           17:00 EDT

                           Appt. Type
                           FCFS
                           Confirmed


Driver Instructions: FCFS APPOINTMENT.


Pickup Notes:



Delivery #1
Delivery Address           Appointment             Ref/PO#                               Commodity                     Weight
Elegance Furniture
6945B Florida Blvd         Earliest Date/Time
Baton Rouge, LA 70806      Mar 31, 2022
                           10:00 CDT

                           Latest Date/Time
                           Mar 31, 2022
                           15:00 CDT

                           Appt. Type
                           FCFS
                   Case: 1:22-cv-04127 Document #: 1-10 Filed: 08/05/22 Page 4 of 9 PageID #:85
Delivery Address            Appointment           Ref/PO#                               Commodity             Weight
                            Confirmed


Driver Instructions: FCFS APPOINTMENT.


Delivery Notes:



Delivery #2
Delivery Address            Appointment           Ref/PO#                               Commodity             Weight
GRAUGNARD INC
3035 HWY 1 SOUTH            Earliest Date/Time
Donaldsonville, LA 70346    Mar 31, 2022
                            11:00 CDT

                            Latest Date/Time
                            Mar 31, 2022
                            17:00 CDT

                            Appt. Type
                            FCFS
                            Confirmed


Driver Instructions: FCFS APPOINTMENT.


Delivery Notes:



Load Comments ** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK UP AND DELIVERY** **
DETENTION REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4 HOURS WILL NOT BE
APPROVED** PU #42683 *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED ON ANY JACKSON FURNITURE
LOADS!! ********** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK UP AND DELIVERY** **
DETENTION REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4 HOURS WILL NOT BE
APPROVED** *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED ON ANY JACKSON FURNITURE LOADS!!
********** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK UP AND DELIVERY** ** DETENTION
REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4 HOURS WILL NOT BE APPROVED** **
DRIVER MUST BE ABLE TO TAILGATE THE FREIGHT** *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED
ON ANY JACKSON FURNITURE LOADS!! ********** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK
UP AND DELIVERY** ** 4 HOURS FREE TIME AT SHIPPERS/CONS FACILITIES ** ** DETENTION REQUESTS MUST BE MADE ON THE DAY OF PICK
UP/DELIVERY OR IT WILL NOT BE APPROVED** *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED ON ANY
JACKSON FURNITURE LOADS!! ********


Lumper Comments


Detention Comments ** DETENTION REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4
HOURS WILL NOT BE APPROVED**** 4 HOURS FREE TIME AT SHIPPERS/CONS FACILITIES ** ** DETENTION REQUESTS MUST BE MADE ON THE DAY
OF PICK UP/DELIVERY OR IT WILL NOT BE APPROVED**



         All invoices must include signed proof of delivery and supporting documents.
                    Please email to invoices@arrivelogistics.com or send to:
                                       Arrive Logistics, LLC
                                  7701 Metropolis Dr | Bldg 15
                                        Austin, TX 78744
                            PH# (888) 861-0650 FAX (512) 872-5109
                     Case: 1:22-cv-04127 Document     #: 1-10 Filed: 08/05/22 Page 5 of 9 PageID #:86
                                         7701 Metropolis Dr | Bldg 15 Austin, TX 78744
                                                          Phone: (888) 861-0650 | Fax: (512) 872-5109
                                                          Have your driver call in for dispatch at (888) 861-0650 ext. 1 and reference the Arrive order
                                                          2796890


All trailers must be absolutely free of all debris of any kind or will be turned away and refused loading. Reasons to reject trailer at loading include, but are
not limited to the following: Foul Odors, Broken glass, Metal shavings, Infestation, and mold.
Load locks or 2 straps or a combination of these two options - Mandatory for each load. Drivers will be turned away if noncompliant.
All drivers must arrive 15 minutes prior to their scheduled pick up time at this location. You will be considered late if you arrive less than 15 minutes prior
to your pickup appointment.
Drivers must confirm trailer seal on correct trailer door prior to departure

Operational Rules:
     1. If a driver is not permitted to confirm (by visual inspection) that the load is secure and the piece count is correct.
        The driver is required to call Arrive immediately and have this information documented on the BOL with the words - Shipper Load/Count per
        _____________________________________________________________ Shipper Signature / Initials.
        Communication to Arrive must take place PRIOR to the driver leaving the facility.
     2. Do not dispatch a driver who cannot meet transit time without violating Hours of Service or other safety rules. Nothing in this Rate Confirmation
        constitutes a request to violate Hours of Service or other safety rules or to coerce a driver to do so.
     3. This Rate Confirmation is deemed accepted by Carrier unless it is rejected within 48 hours of receipt.
     4. Receipt of shipment by Carrier constitutes acceptance of and agreement to the terms of this Rate Confirmation.
     5. Double brokering without prior written authorization will result in forfeiture of payment by Arrive to Carrier.
     6. Any communication regarding this load must be addressed to Arrive and not its customer.
     7. All charges are included in this Rate Confirmation.
     8. Carrier must give Arrive notice 1 Hour prior to detention occurring.
     9. Carrier agrees in the event there are overages, shortages, or damages, Carrier will contact Arrive�s office to report the discrepancy before
        leaving the customer�s premises.
    10. Payment will be made within thirty (30) days after receipt of invoice, original BOL, and signed Load-Rate Confirmation unless Arrive disputes the
        invoice or any part thereof.
    11. Freight must not be handled or trans loaded by Carrier without approval from Arrive. In the event of Carrier�s violation of this Operational Rule,
        the limitation of liability as to cargo loss or damage set forth in the Broker Carrier Agreement between Arrive and Carrier shall be voided and
        payment by Arrive to Carrier shall be forfeited by Carrier.
    12. Carrier or its agent certifies that any Transportation Refrigeration Unit (TRU or reefer) equipment furnished will be in compliance with the in-use
        requirements of the California TRU regulations.
    13. This Rate Confirmation incorporates the terms and conditions of a Broker Carrier Agreement signed by Arrive and Carrier.
    14. In the event of a conflict between this Rate Confirmation and any Broker Carrier Agreement between Arrive and Carrier, this Load-Rate
        Confirmation shall govern as to the provisions in conflict.

If this load is a temp-controlled load follow these guidelines:
       1. All temp-controlled loads should be run on continuous.
       2. The temperature must follow the Bill Of Lading.
          - If no temperature, please call Arrive immediately.
          - If there are any discrepancies in the Arrive Rate Confirmation and BOL - Please call Arrive immediately. Temp on BOL will prevail.
          Do not dispatch a driver who cannot meet transit time without violating Hours of Service or other safety rules. Nothing in this Rate Confirmation
          constitutes a request to violate Hours of Service or other safety rules or to coerce a driver to do so.



Broker. Arrive Logistics, LLC


Carrier Signature:


Print Name:


Driver:                                                                               Cell #:


Truck#:                                           Tllr:                                           Tllr. Type:


A Rate Confirmation from Arrive Logistics will only be sent from the following email addresses: @arrivelogistics.com @arrivefresh.com @arvy.us. It is the Carriers
responsibility to verify that a Rate Confirmation has come from a legitimate Arrive email prior to accepting a load and performing services; Arrive will not be held
responsible for any payments, losses or damages incurred by Carrier or any third party associated with a Rate Confirmation that has not legitimately originated from
Arrive.

NOTE:By accepting this Rate Confirmation, Carrier warrants and agrees that it will follow all rules and regulations concerning its choice of driver(s), including assigning
a driver who can perform the transportation services without violating the Hours of Service of Drivers Regulations contained in 49 CFR 395 applicable at the time of
acceptance of the shipment.
                Case: 1:22-cv-04127 Document     #: 1-10 ALTERED
                                                              Filed: 08/05/22 Page 6 of 9 PageID #:87
                                    7701 Metropolis Dr | Bldg 15 Austin, TX 78744
                                               Phone: (888) 861-0650 | Fax: (512) 872-5109
                                               Have your driver call in for dispatch at (888) 861-0650 ext. 1 and reference the Arrive order
                                               2796890


Load                                          Carrier                                             Truck

Arrive Order        2796890                   Carrier                     Rocket Expediting       Equipment               Van
Cargo Value         $100,000.00                                           LLC                     Truck Number
Total Miles         620 Miles                 Attn                                                Driver
Total FloorLoaded   67 FloorLoaded            Phone                                               Driver Phone
Total Weight        15000 lbs                 Fax
Load Type           Dry
Load EQ Type        Van Only
EQ Size             53 ft
BOL #               42683


Rate Details
LineHaul                          $1,700.00


Total                           $1,700.00




                                                              HOW TO GET PAID!
                                         All invoices must be emailed to invoices@arrivelogistics.com

                                  DOCUMENTS NEEDED
                                       •   Carrier invoice
                                       •   All pages of the signed Proof of Delivery (POD)
                                       •   Rate confirmation
                                       •   All approved accessorial documents and receipts previously approved
                                       by your sales rep

                                  PAYMENT TERMS
                                       •   Default payment terms are Net 30 from the date all required
                                       documents are received. You can select standard terms or our QuickPay
                                       option of Net-2 for a 2% fee, through TriumphPay.

                                  GETTING STARTED ON TriumphPay
                                        •   Visit https://secure.triumphpay.com/ to create an account with
                                        TriumphPay or if you already have a TriumphPay account, enter your
                                        login information.
                                        •   Once logged in, select Arrive Logistics as your broker and confirm the
                                        relationship through authentication.
                                        •   Select your preferred payment term, your payment type, and verify
                                        your carrier information.
                   Case: 1:22-cv-04127 Document     #: 1-10 Filed: 08/05/22 Page 7 of 9 PageID #:88
                                       7701 Metropolis Dr | Bldg 15 Austin, TX 78744
                                                Phone: (888) 861-0650 | Fax: (512) 872-5109
                                                Have your driver call in for dispatch at (888) 861-0650 ext. 1 and reference the Arrive order
                                                2796890



Pickup #1
Pickup Address             Appointment             Ref/PO#                               Commodity                     Weight
Jackson Furniture                                  BOL #              42683              Furniture                     7500 lb
1910 King Edward Ave       Earliest Date/Time                                            32 FLOOR LOADED
Cleveland, TN 37311        Mar 30, 2022
                           07:00 EDT

                           Latest Date/Time
                           Mar 30, 2022
                           17:00 EDT

                           Appt. Type
                           FCFS
                           Confirmed


Driver Instructions: FCFS APPOINTMENT.


Pickup Notes:



Pickup #2
Pickup Address             Appointment             Ref/PO#                               Commodity                     Weight
JACKSON FURNITURE                                  BOL #              42683              Furniture                     7500 lb
CATNAPPER                  Earliest Date/Time                                            35 FLOOR LOADED
180 INDUSTRIAL LANE        Mar 30, 2022
Cleveland, TN 37311        07:00 EDT

                           Latest Date/Time
                           Mar 30, 2022
                           17:00 EDT

                           Appt. Type
                           FCFS
                           Confirmed


Driver Instructions: FCFS APPOINTMENT.


Pickup Notes:



Delivery #1
Delivery Address           Appointment             Ref/PO#                               Commodity                     Weight
Elegance Furniture
6945B Florida Blvd         Earliest Date/Time
Baton Rouge, LA 70806      Mar 31, 2022
                           10:00 CDT

                           Latest Date/Time
                           Mar 31, 2022
                           15:00 CDT

                           Appt. Type
                           FCFS
                   Case: 1:22-cv-04127 Document #: 1-10 Filed: 08/05/22 Page 8 of 9 PageID #:89
Delivery Address            Appointment           Ref/PO#                               Commodity             Weight
                            Confirmed


Driver Instructions: FCFS APPOINTMENT.


Delivery Notes:



Delivery #2
Delivery Address            Appointment           Ref/PO#                               Commodity             Weight
GRAUGNARD INC
3035 HWY 1 SOUTH            Earliest Date/Time
Donaldsonville, LA 70346    Mar 31, 2022
                            11:00 CDT

                            Latest Date/Time
                            Mar 31, 2022
                            17:00 CDT

                            Appt. Type
                            FCFS
                            Confirmed


Driver Instructions: FCFS APPOINTMENT.


Delivery Notes:



Load Comments ** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK UP AND DELIVERY** **
DETENTION REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4 HOURS WILL NOT BE
APPROVED** PU #42683 *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED ON ANY JACKSON FURNITURE
LOADS!! ********** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK UP AND DELIVERY** **
DETENTION REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4 HOURS WILL NOT BE
APPROVED** *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED ON ANY JACKSON FURNITURE LOADS!!
********** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK UP AND DELIVERY** ** DETENTION
REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4 HOURS WILL NOT BE APPROVED** **
DRIVER MUST BE ABLE TO TAILGATE THE FREIGHT** *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED
ON ANY JACKSON FURNITURE LOADS!! ********** FAILURE TO INFORM OF LATE PICK UP AND DELIVERY MAY RESULT IN FEE*** ** VERY STRICT PICK
UP AND DELIVERY** ** 4 HOURS FREE TIME AT SHIPPERS/CONS FACILITIES ** ** DETENTION REQUESTS MUST BE MADE ON THE DAY OF PICK
UP/DELIVERY OR IT WILL NOT BE APPROVED** *********General Vl Inc (GENDEIL2) ******** Usa Cargo Freight (USACHIL2) IS NOT TO BE USED ON ANY
JACKSON FURNITURE LOADS!! ********


Lumper Comments


Detention Comments ** DETENTION REQUEST MUST BE MADE ON THE DAY OF PICK UP OR IT WILL NOT BE APPROVED** ** DETENTION UNDER 4
HOURS WILL NOT BE APPROVED**** 4 HOURS FREE TIME AT SHIPPERS/CONS FACILITIES ** ** DETENTION REQUESTS MUST BE MADE ON THE DAY
OF PICK UP/DELIVERY OR IT WILL NOT BE APPROVED**



         All invoices must include signed proof of delivery and supporting documents.
                    Please email to invoices@arrivelogistics.com or send to:
                                       Arrive Logistics, LLC
                                  7701 Metropolis Dr | Bldg 15
                                        Austin, TX 78744
                            PH# (888) 861-0650 FAX (512) 872-5109
                     Case: 1:22-cv-04127 Document     #: 1-10 Filed: 08/05/22 Page 9 of 9 PageID #:90
                                         7701 Metropolis Dr | Bldg 15 Austin, TX 78744
                                                          Phone: (888) 861-0650 | Fax: (512) 872-5109
                                                          Have your driver call in for dispatch at (888) 861-0650 ext. 1 and reference the Arrive order
                                                          2796890


All trailers must be absolutely free of all debris of any kind or will be turned away and refused loading. Reasons to reject trailer at loading include, but are
not limited to the following: Foul Odors, Broken glass, Metal shavings, Infestation, and mold.
Load locks or 2 straps or a combination of these two options - Mandatory for each load. Drivers will be turned away if noncompliant.
All drivers must arrive 15 minutes prior to their scheduled pick up time at this location. You will be considered late if you arrive less than 15 minutes prior
to your pickup appointment.
Drivers must confirm trailer seal on correct trailer door prior to departure

Operational Rules:
     1. If a driver is not permitted to confirm (by visual inspection) that the load is secure and the piece count is correct.
        The driver is required to call Arrive immediately and have this information documented on the BOL with the words - Shipper Load/Count per
        _____________________________________________________________ Shipper Signature / Initials.
        Communication to Arrive must take place PRIOR to the driver leaving the facility.
     2. Do not dispatch a driver who cannot meet transit time without violating Hours of Service or other safety rules. Nothing in this Rate Confirmation
        constitutes a request to violate Hours of Service or other safety rules or to coerce a driver to do so.
     3. This Rate Confirmation is deemed accepted by Carrier unless it is rejected within 48 hours of receipt.
     4. Receipt of shipment by Carrier constitutes acceptance of and agreement to the terms of this Rate Confirmation.
     5. Double brokering without prior written authorization will result in forfeiture of payment by Arrive to Carrier.
     6. Any communication regarding this load must be addressed to Arrive and not its customer.
     7. All charges are included in this Rate Confirmation.
     8. Carrier must give Arrive notice 1 Hour prior to detention occurring.
     9. Carrier agrees in the event there are overages, shortages, or damages, Carrier will contact Arrive�s office to report the discrepancy before
        leaving the customer�s premises.
    10. Payment will be made within thirty (30) days after receipt of invoice, original BOL, and signed Load-Rate Confirmation unless Arrive disputes the
        invoice or any part thereof.
    11. Freight must not be handled or trans loaded by Carrier without approval from Arrive. In the event of Carrier�s violation of this Operational Rule,
        the limitation of liability as to cargo loss or damage set forth in the Broker Carrier Agreement between Arrive and Carrier shall be voided and
        payment by Arrive to Carrier shall be forfeited by Carrier.
    12. Carrier or its agent certifies that any Transportation Refrigeration Unit (TRU or reefer) equipment furnished will be in compliance with the in-use
        requirements of the California TRU regulations.
    13. This Rate Confirmation incorporates the terms and conditions of a Broker Carrier Agreement signed by Arrive and Carrier.
    14. In the event of a conflict between this Rate Confirmation and any Broker Carrier Agreement between Arrive and Carrier, this Load-Rate
        Confirmation shall govern as to the provisions in conflict.

If this load is a temp-controlled load follow these guidelines:
       1. All temp-controlled loads should be run on continuous.
       2. The temperature must follow the Bill Of Lading.
          - If no temperature, please call Arrive immediately.
          - If there are any discrepancies in the Arrive Rate Confirmation and BOL - Please call Arrive immediately. Temp on BOL will prevail.
          Do not dispatch a driver who cannot meet transit time without violating Hours of Service or other safety rules. Nothing in this Rate Confirmation
          constitutes a request to violate Hours of Service or other safety rules or to coerce a driver to do so.



Broker. Arrive Logistics, LLC


Carrier Signature:


Print Name:


Driver:                                                                               Cell #:


Truck#:                                           Tllr:                                           Tllr. Type:


A Rate Confirmation from Arrive Logistics will only be sent from the following email addresses: @arrivelogistics.com @arrivefresh.com @arvy.us. It is the Carriers
responsibility to verify that a Rate Confirmation has come from a legitimate Arrive email prior to accepting a load and performing services; Arrive will not be held
responsible for any payments, losses or damages incurred by Carrier or any third party associated with a Rate Confirmation that has not legitimately originated from
Arrive.

NOTE:By accepting this Rate Confirmation, Carrier warrants and agrees that it will follow all rules and regulations concerning its choice of driver(s), including assigning
a driver who can perform the transportation services without violating the Hours of Service of Drivers Regulations contained in 49 CFR 395 applicable at the time of
acceptance of the shipment.
